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1                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
2                            NASHVILLE DIVISION
3
4       UNITED STATES OF AMERICA     )
                                     )
5       VS                           ) No. 3:18-cr-0199
                                     )
6       TARIUS CLAYBROOKS            )
        ______________________________________________________
7
8                     BEFORE THE HONORABLE JOE BROWN,
9                                MAGISTRATE JUDGE
10                   TRANSCRIPT OF ELECTRONIC RECORDING
11                               August 29, 2018
12      ______________________________________________________
13      APPEARANCES:
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16
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19
20      ______________________________________________________
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1
2                        The above-styled cause came to be heard
3       on August 29, 2018, before the Hon. Joe Brown,
4       Magistrate Judge, when the following proceedings were
5       had to-wit:
6                    TRANSCRIPT OF ELECTRONIC RECORDING
7                                        ***
8
9                        THE COURT:      All right.     We're here today
10      on a detention hearing and the arraignment of
11      Mr. Claybrooks.       So might as well get the arraignment
12      out of the way first.         Mr. Pulley, is the -- I believe
13      the defendant's gotten a copy of the indictment.                 You
14      want to waive formal reading or --
15                       MR. PULLEY:      He does and I do,
16      Your Honor.
17                       THE COURT:      All right.
18                       MR. PULLEY:      Thank you.
19                       THE COURT:      And enter a plea of?
20                       MR. PULLEY:      Not guilty, if you would,
21      Your Honor.
22                       THE COURT:      All right.     Plea of not
23      guilty to all counts will be entered.
24                       And we have the detention motion, then.
25      So looks like the parties are ready.             It's the



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1       government's motion to start with.
2                        MR. SUEDEKUM:      Yes, Your Honor.        This is
3       a presumption case.        I'm happy to put on Sergeant
4       Winter first if you'd like me to go ahead and do that.
5                        THE COURT:      You know, I think you're
6       correct.     It is obviously a presumption case, but
7       frankly, it to me is a little easier for me to get
8       some of the facts out to start with.
9                        MR. SUEDEKUM:      Yes, Your Honor.        Happy to
10      do that.
11                       THE COURT:      Okay.
12                       MR. SUEDEKUM:      If I may, I'll call
13      Sergeant Winter up in a moment.            Just to give you a
14      quick proffer of what we're dealing with with this
15      case.
16                       THE COURT:      Yes.
17                       MR. PULLEY:      If I may address a
18      housekeeping matter, Your Honor.
19                       THE COURT:      I'm sorry?
20                       MR. PULLEY:      A housekeeping matter with
21      the Court.      May I speak to the Court?
22                       THE COURT:      Sure.
23                       MR. PULLEY:      I have my assistant here
24      with me today and I'd like permission to be able to at
25      least turn around and maybe sit behind me with the



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1       Court's permission.
2                        THE COURT:      Sure, no problem.
3                        MR. PULLEY:      Thank you so much,
4       Your Honor.
5                        MR. SUEDEKUM:      Your Honor, the indictment
6       in this case stems from a traffic stop in June of
7       2018.    The defendant was found in possession in his
8       vehicle of a loaded firearm, with 18 rounds of
9       ammunition, approximately a total of 170 grams of
10      marijuana, plastic baggies, cash, scales.
11                       The defendant gave statements at the
12      scene after he was placed under arrest admitting that
13      the marijuana was his, acknowledging that the gun was
14      in his backpack.       I think he tried to say that someone
15      else had bought the gun, but he was aware of it,
16      nonetheless.
17                       Based on that, he's been charged with
18      possession of intent to distribute marijuana, felon in
19      possession of a firearm and possessing a firearm in
20      furtherance of a drug trafficking crime.
21                       I'll call Sergeant Winter in a second to
22      discuss the details of the traffic stop.               But would
23      just also note, Your Honor, this is not
24      Mr. Claybrooks's first run-in with the law for either
25      of these offenses.        He has three prior convictions for



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1       drug trafficking, which you'll hear about, as well as
2       three prior convictions for possessing a firearm.
3                        So it will be -- the evidence that we
4       present and our contention that there are no
5       conditions that can ensure the safety of the
6       community, and so we are seeking detention for that
7       reason, Your Honor.
8                        THE COURT:      All right.     I've gotten a
9       copy of the pretrial services report, both sides have
10      a copy and you may retain the copy pending the
11      conclusion of the case.          And Mr. Pulley, when we get
12      to your case, you can let me know if you have any
13      objections to the factual portions of the report.                 I
14      understand, obviously, you don't agree with the
15      recommendations.
16                       MR. PULLEY:      You are correct, Your Honor.
17                       THE COURT:      The recommendations are
18      separate from the factual part.
19                       MR. PULLEY:      Yes, sir.
20                       THE COURT:      All right.
21                       MR. SUEDEKUM:      At this time, Your Honor,
22      call Sergeant Winter to the stand.
23                       THE COURT:      Okay, Sergeant Winter.
24
25



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1                                  JOSEPH WINTER
2       called as a witness, after having been first duly
3       sworn, testified as follows:
4                              DIRECT EXAMINATION
5       BY MR. SUEDEKUM:
6                Q.      Can you please state your name and spell
7       your last name for the record.
8                A.      Joseph Winter, W-i-n-t-e-r.
9                Q.      Who are you employed with?
10               A.      With Metro-Nashville Police Department
11      since 2001.
12               Q.      And what is your position?          What do you
13      do there?
14               A.      Currently I'm a supervisor in the
15      Specialized Investigation Division.
16               Q.      And generally what does that entail?
17               A.      Oh.   My position now is acting as a
18      liaison between our federal partners, prosecutors on
19      gun cases specifically, along with coordinating some
20      other information regarding, you know, crime scene
21      linkages and things of that nature.
22               Q.      In your time of working with the Metro
23      Police Department, do you also have experience dealing
24      with drug trafficking and gun offenses?
25               A.      Yes, sir.     Prior to my current



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1       assignment, I actually served a little over six years
2       in our gang unit, and that's almost exclusively what
3       we -- what we investigated was, you know, gang
4       offenders that were in gun crimes and drug crimes.
5                Q.      Are you familiar with a traffic stop that
6       occurred on June 4 of 2018 that involved the
7       defendant, Tarius Claybrooks?
8                A.      Yes, sir.
9                Q.      Were you -- just to be clear, were you
10      personally involved in that traffic stop?
11               A.      No, sir.
12               Q.      Have you -- you've reviewed the reports
13      as a result of that traffic stop?
14               A.      Yes, sir.
15               Q.      And based on reviewing that information,
16      are you familiar with what happened?
17               A.      Yes, sir.
18               Q.      Can you please briefly describe what
19      happened after officers initiated the traffic stop of
20      the defendant on June 4, 2018?
21               A.      Yes.    According to the reports I was able
22      to review, they initiated the traffic stop around
23      D.B. Todd and St. Louis in north Nashville.               The
24      original stop was for basically a registration
25      violation.      The defendant attempted to get out of the



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1       car when they initially stopped him.             They told him to
2       get back in, he complied.
3                        They were unable to inspect the sticker
4       because I think there was an 18 sticker that was
5       actually on the license plate even though the
6       registration had lapsed.          And they were able to
7       determine that the sticker didn't actually go to that
8       vehicle.      So then they went over and asked
9       Mr. Claybrooks out of the car.            They struggled a
10      little is what the reports say, but he didn't
11      physically assault the officers or anything like that,
12      getting him into custody, taking him into custody for
13      that registration violation.
14               Q.      At the time they took him into custody,
15      did they search his person?
16               A.      Yes.    Search incident to the arrest they
17      found about five grams of marijuana, I think, in his
18      front left pocket.        Based on that, they then went to
19      search the vehicle.        After I believe they -- I don't
20      know if they were able to put him in the back of the
21      car, the patrol car before they searched the vehicle
22      or after.     Typically our practice would be to put them
23      in the car to secure them and then search the vehicle.
24                       When they searched the vehicle is when
25      they found a bag that contained all of the things that



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1        you listed earlier with the 165 grams of marijuana,
2        the pistol, an extra magazine, some baggies, some
3        scales.    And I think $210 in currency.
4                 Q.      Just to be clear, the vehicle that you
5        stopped, who was that vehicle registered to?
6                 A.      It was registered to Mr. Claybrooks.
7                 Q.      Did you subsequently speak with
8        Mr. Claybrooks -- or not you.           Did the officers
9        subsequently speak with Mr. Claybrooks after they
10       searched the vehicle?
11                A.      There -- I know there was some dialogue.
12       I don't know what the format of that was, whether it
13       was formal questioning or if it was maybe even
14       utterances by Mr. Claybrooks, but there was dialogue,
15       yes, sir.
16                Q.      After the officers had located the
17       backpack in the back seat of the car, did
18       Mr. Claybrooks confirm that that was, in fact, his
19       backpack?
20                A.      Yes, sir.
21                Q.      Did he say more or less that he took it
22       with him everywhere he went?
23                A.      Yes, sir.
24                        MR. PULLEY:     Objection to the leading,
25       Your Honor.



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1                         THE COURT:     You are leading a trifle.
2                         MR. SUEDEKUM:      Yes, Your Honor.
3        BY MR. SUEDEKUM:
4                 Q.      And can you please go through, again,
5        what was found inside the backpack that Mr. Claybrooks
6        identified as his?
7                 A.      Sure.    It was approximately 165 grams of
8        marijuana, baggies, I think it was 150 count was the
9        number noted on the box.         $210 in currency --
10                        THE COURT:     I'm sorry, how much?
11                        THE WITNESS:      How much of?
12                        THE COURT:     Currency.
13                        THE WITNESS:      Currency?     $210.    And then
14       the -- the .45 caliber weapon with an extra magazine.
15       I think the currency broke down into mainly small
16       bills, lots of ones, and then there was some tens and
17       twenties.
18       BY MR. SUEDEKUM:
19                Q.      And just to clarify, do you recall
20       whether there were scales also found in the backpack?
21                A.      Yes, sir, there were.
22                Q.      Are you also familiar with the
23       defendant's criminal record?           Have you had a chance to
24       review that information?
25                A.      Yes, sir.     In preparation I mainly pulled



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1        everything from the Tennessee Criminal Justice Portal,
2        which is the TOMAS record.          And the TOMAS lists dates
3        of offenses, counties of offenses and what the actual
4        conviction is.      So from nineteen ninety- -- in
5        Mr. Claybrooks's example, from 1997 to 2011 there was
6        three convictions, felony convictions for what is
7        described as Schedule II drug offenses and three
8        convictions for felony possession of a weapon during
9        that same time period.
10                        MR. SUEDEKUM:      Thank you.     No further
11       questions, Your Honor.
12                        THE COURT:     All right.      Any cross?
13                        MR. PULLEY:     If you would, Your Honor,
14       thank you.
15                               CROSS-EXAMINATION
16       BY MR. PULLEY:
17                Q.      Good afternoon, Sergeant Winter.
18                A.      Afternoon.
19                Q.      I'm Karl Pulley, and I represent the
20       defendant in this matter.          And so let's -- let's begin
21       initially, you were not even present at the alleged
22       crime scene?
23                A.      Correct, sir.      Everything I know I've
24       reviewed from the -- from the Metro police officer's
25       reports that were submitted after the incident.



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1                 Q.      So simply it's something that you read
2        that you don't have personal knowledge of?
3                 A.      Correct.
4                 Q.      And that means anything that you are
5        talking about you literally heard from someone else?
6                 A.      I read on the reports, yes, sir.
7                 Q.      Which would be hearsay that would be
8        related in a written form?
9                 A.      I'm sorry, you said heard.          No, I didn't
10       actually -- that's what I mean, I'm sorry.
11                Q.      Right.    Okay, thank you.       Now, based on
12       your review of the activities, they discovered, you
13       say how many grams in his front pocket?
14                A.      Five grams.
15                Q.      Okay.    Now, at what point was that field
16       tested to determine whether or not it was a controlled
17       substance?
18                A.      There was no indication that it was.
19                Q.      So there is no police report from any
20       lab, the Tennessee Bureau of Investigation or
21       otherwise, that demonstrate what was found in his
22       pocket was actually a controlled substance?
23                A.      Not from a lab, no, sir.
24                Q.      And so that would also hold true for the
25       item of drugs that you found in the backpack that's



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1        169 grams.     That's correct?
2                 A.      165, yes, sir.
3                 Q.      165.
4                 A.      That would be correct.
5                 Q.      Well, the indictment says 170, but you're
6        modifying that indictment to be 165 grams?
7                         MR. SUEDEKUM:      Objection, Your Honor.         I
8        don't believe that's what he's doing or what he's
9        testified to.
10                        THE COURT:     Well, 165 and five makes 170.
11       Appears to me the indictment just included the total
12       amount.
13                        MR. PULLEY:     Thank you, Your Honor.
14       BY MR. PULLEY:
15                Q.      And given that additional 165 grams, was
16       that 165 grams field tested there at the alleged crime
17       scene?
18                A.      No, sir.
19                Q.      So there's no -- again, no report, field
20       test or report from the Tennessee Bureau of
21       Investigation or other agency that indicates it's, in
22       fact, marijuana?
23                A.      Correct.
24                Q.      You did note that you were involved
25       relative to the gang unit for six years; is that



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1        correct?
2                 A.      In a prior experience, yes.
3                 Q.      Right.    But relative to the stop, he was
4        stopped -- and that would be the defendant in this
5        matter -- for a registration violation; is that
6        correct?
7                 A.      That's my understanding, yes, sir.
8                 Q.      And how would that be gang related?
9                 A.      It's not, sir.
10                Q.      It's not gang related at all, is it, sir?
11                A.      Not to my knowledge.
12                Q.      Correct.    So is it a usual position that
13       the police department finds itself in to take someone
14       into custody for a traffic violation only?
15                        MR. SUEDEKUM:      Objection, Your Honor.
16       Relevance.
17                        THE COURT:     We've got an indictment, so
18       probable cause has been established.             We're not here
19       on probable cause.
20                        MR. PULLEY:     Yes, Your Honor.        But he was
21       taken into custody based on merely a traffic violation
22       and what was uncovered in his pocket and the car.
23                        THE COURT:     I believe that's correct.
24       That's what he testified to.
25                        THE WITNESS:      In that order, yes, sir.



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1        BY MR. PULLEY:
2                 Q.      Yes, sir.     And as a result there is an
3        amount of $210 --
4                 A.      Yes, sir.
5                 Q.      -- that you recovered?         Now, does that
6        indicate any gang activity?
7                 A.      No, sir.
8                 Q.      Does that indicate a drug trafficking
9        situation, $210?
10                A.      It could, but it's not -- that is not
11       definitive of drug trafficking.
12                Q.      And when you say it's not definitive, you
13       really mean it does not -- the amount of money does
14       not demonstrate drug trafficking?
15                A.      It can indicate either way, sir.            I mean,
16       without the drugs, $210 is not indicating --
17       indicative of any drug activity.            With the drugs,
18       especially the small denominations where transactions
19       are made on small denominations and change could be
20       made and things of that nature, then it would be.
21                        Now, if he -- you know, if he worked at a
22       fast food joint, if he was delivering pizzas, that
23       could be tips.      So you have to just kind of take it
24       in -- in accordance with what they're found with.
25       Does that explain it?



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1                 Q.      I think that's adequate.         But at the same
2        time what does he do for a living?
3                 A.      I do not know, sir.
4                 Q.      Would it surprise you that he works --
5                         MR. SUEDEKUM:      Objection, Your Honor.
6                         MR. PULLEY:     Your Honor, he opened the
7        door to the fact that if it was a restaurant, he would
8        get tips.     I can demonstrate he could get tips in
9        another fashion.
10                        MR. SUEDEKUM:      Your Honor -- he just
11       testified --
12                        THE COURT:     I'm going to -- I'll let him
13       answer.    But, again, we're not here on probable cause.
14                        MR. PULLEY:     Yes, sir.
15       BY MR. PULLEY:
16                Q.      And so as you discover that he had a
17       prior criminal history -- you did discover that;
18       correct?
19                A.      Yes, sir.
20                Q.      Okay.    Now, did you provide the Court or
21       the United States attorney in this case certified
22       copies of his criminal history?
23                A.      I have not.
24                Q.      So what we see in the presentence report
25       or the pretrial services report is not a certified



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1        copy of --
2                         THE COURT:     Wait a minute.       Counsel,
3        we're not here on probable cause.
4                         MR. PULLEY:     I understand, Your Honor.
5        If I may --
6                         THE COURT:     If you want -- if you want to
7        challenge whether the pretrial services report is
8        accurate on these matters, you can do so, but the
9        certified copies and everything is not -- you're --
10       you're beating off on a dead horse on that.
11                        MR. PULLEY:     I do not, Your Honor.         May I
12       have a moment?
13                        THE COURT:     Sure.
14                        (Pause in proceedings.)
15                        MR. PULLEY:     Thank you, Your Honor.         We
16       have no further questions.
17                        THE COURT:     All right.
18                        MR. SUEDEKUM:      Just a couple quick
19       clarifications.
20                             REDIRECT EXAMINATION
21       BY MR. SUEDEKUM:
22                Q.      You were asked a moment ago about whether
23       any field tests were performed on marijuana.               In your
24       experience is that typically necessary for an officer
25       to make a determination whether they have probable



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1        cause to believe it is, in fact, marijuana?
2                 A.      No, not for marijuana specifically.
3                 Q.      I believe you testified to this earlier,
4        but just to be clear, did the defendant acknowledge
5        that it was, in fact, his marijuana?
6                 A.      Yes, sir.
7                 Q.      You were also asked about whether or not
8        the presence of the money alone was indicative of drug
9        trafficking.      Was there anything else in the
10       defendant's backpack inside the defendant's car that
11       was indicative that he was engaged in drug
12       trafficking?
13                A.      The baggies and the scales were what
14       would be further evidence of that, yes, sir.
15                        MR. SUEDEKUM:      Nothing further,
16       Your Honor.
17                        THE COURT:     All right.      Thank you, sir.
18       Be careful of that step.
19                        THE WITNESS:      Will do.
20                         *****WITNESS EXCUSED*****
21                        THE COURT:     All right.      The government
22       have anything else, then, that you want to present at
23       this time?
24                        MR. SUEDEKUM:      No, Your Honor.       We have
25       no further evidence.



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1                         THE COURT:     All right.      Mr. Pulley, I'll
2        be glad to hear from you, then.
3                         MR. PULLEY:     Thank you again, Your Honor.
4        If we could call Derrick McWilliam, please.
5                                DERRICK MCWILLIAM
6        called as a witness, after having been first duly
7        sworn, testified as follows:
8                               DIRECT EXAMINATION
9        BY MR. PULLEY:
10                Q.      Good afternoon, sir.
11                A.      Good afternoon.
12                Q.      Would you state your name for the record,
13       please.
14                A.      Derrick McWilliam.
15                Q.      You're going to have to speak up and
16       speak --
17                A.      Derrick McWilliam.
18                Q.      Thank you.     Because this session is, of
19       course, being recorded.         Are you related in any way to
20       Mr. Claybrooks?
21                A.      Cousin.
22                Q.      You're his cousin?
23                A.      Yes, sir.
24                Q.      So how long would you say you've known or
25       been related to him?



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1                 A.      My whole life.
2                 Q.      And what kind of person -- and would you
3        describe to the Court what kind of person
4        Mr. Claybrooks is.
5                 A.      He's a good person (inaudible) takes care
6        of his kids well.
7                 Q.      And do you know how many children he has?
8                 A.      (inaudible) he have three.
9                 Q.      And he takes care of them, as you say?
10                A.      Yes, sir.
11                Q.      Okay.    And how -- how else do you know
12       Mr. Claybrooks, other than being related to him and
13       the care for his children?
14                A.      I know -- always around (inaudible) he
15       works, you know.        Basically that's all he does.
16       Basically, you know (inaudible) bike and everything,
17       that's basically all I know.
18                Q.      When you say bike, you're referring to a
19       motorcycle?
20                A.      Yes.
21                Q.      Okay.    Have you ever known Mr. Claybrooks
22       to be employed?
23                A.      (inaudible) to know if he been employed
24       or not.
25                Q.      All right.     And Mr. Claybrooks has been



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1        in the community in excess of 30 years?
2                 A.      Yes, sir.
3                 Q.      Okay.    And also, if I may ask you, are
4        you aware of any physical condition that he -- he's
5        presently receiving treatment for?
6                 A.      No.   No, I don't.      No, sir.
7                 Q.      You're not aware of a motorcycle accident
8        he was involved in?
9                 A.      Yes, yes.
10                Q.      And could you describe after the
11       motorcycle accident --
12                A.      I wasn't around then.        I just heard.
13                Q.      Okay.    But he was involved in a serious
14       motorcycle accident --
15                A.      Yes, sir.
16                Q.      -- is that correct?
17                A.      Yes, sir.
18                Q.      And you are aware -- and you may or may
19       not be -- of Mr. Claybrooks has some prior criminal
20       history; correct?
21                A.      Can you repeat that again?
22                Q.      You are aware that Mr. Claybrooks has
23       some prior criminal history; is that correct?
24                A.      No, sir, not as I know of.
25                Q.      But even if you -- if it was determined



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1        or demonstrated before this Court that Mr. Claybrooks
2        has some kind of criminal history, would you still be
3        of the opinion that he could be released into the
4        community?
5                 A.      Yes, sir.
6                 Q.      And if called upon by the Court or any
7        other service to help Mr. Claybrooks fulfill his
8        obligations to return to court, would you be in a
9        position to assist Mr. Claybrooks in that activity?
10                A.      Can you repeat that one more time, sir?
11                Q.      If there are conditions -- if the Judge
12       finds fit to release Mr. Claybrooks and the Court
13       places conditions upon his release that, for example,
14       be back in court at this time, could you help and
15       assist Mr. Claybrooks in his return to court?
16                A.      Yes, sir.
17                Q.      Could you help and assist Mr. Claybrooks
18       with the conditions that the Court sets, if any?
19                A.      Yes.
20                        MR. PULLEY:     Thank you.      Nothing further.
21                        THE COURT:     Okay.    Cross?
22                        MR. SUEDEKUM:      Just a few questions,
23       Your Honor.
24                        THE COURT:     He may have a couple
25       questions for you.        He may have several questions for



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1        you.
2                                 CROSS-EXAMINATION
3        BY MR. SUEDEKUM:
4                 Q.      Good afternoon, Mr. McWilliam.
5                 A.      Good afternoon.
6                 Q.      How long did you say you've known the
7        defendant?
8                 A.      My whole life.      My whole life.
9                 Q.      How often would you say, in the past
10       year, how often do you see him or interact with him?
11                A.      Probably (inaudible) I see him every --
12       every couple days, I come by and see him.
13                Q.      Were you in court a few moments ago when
14       you heard about the offense that he's charged with
15       here?
16                A.      No, I wasn't.
17                Q.      Okay.    Are you familiar with the offense
18       he's charged with here?
19                A.      No.
20                Q.      Okay.    Are you aware that he's been
21       charged with distributing -- possessing and attempting
22       to distribute marijuana?
23                A.      Do I have to answer the question?
24                Q.      I'm not asking you -- I'm just asking you
25       whether or not you're aware that's what he's charged



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1        with?
2                 A.      I don't know.
3                         THE COURT:     He's already said he's not
4        aware of it.
5                         THE WITNESS:      I don't know.
6        BY MR. SUEDEKUM:
7                 Q.      When was the last time that you
8        interacted with the defendant outside of court?
9                 A.      Can you explain that?
10                Q.      When was the last time that you saw the
11       defendant in person prior to seeing him in court
12       today?
13                A.      (inaudible) last month ago.
14                Q.      About a month ago?
15                A.      Uh-huh (affirmative).
16                Q.      All right.     And just to clarify when you
17       said earlier, you don't know if the defendant is
18       employed or has been employed?
19                A.      No, I don't.
20                Q.      And you aren't familiar or aware of what
21       sort of criminal history the defendant has?
22                A.      No.
23                        MR. SUEDEKUM:      Okay.    No further
24       questions, Your Honor.
25                        THE COURT:     Okay.    Anything else, then?



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1                         MR. PULLEY:     Yes, Your Honor.        One more
2        if we might, Your Honor.         Nothing from this witness.
3                         THE COURT:     Oh, that's what I was talking
4        about.
5                         MR. PULLEY:     I'm sorry, Your Honor.         No,
6        sir.
7                         THE COURT:     You can step down.        Watch
8        your step, there.       Thank you, sir.
9                          *****WITNESS EXCUSED*****
10                        THE COURT:     Okay.    Call your next.
11                        MR. PULLEY:     Thank you, Your Honor.         If
12       we could call Temicka Campbell.
13                               TEMICKA CAMPBELL
14       called as a witness, after having been first duly
15       sworn, testified as follows:
16                              DIRECT EXAMINATION
17       BY MR. PULLEY:
18                Q.      Good afternoon, Ms. Campbell.
19                A.      Hello.
20                Q.      Would you state your name for the record
21       and spell it, please.
22                A.      Temicka Campbell-Clay.         T-e-m-i-c-k-a
23       Campbell, C-a-m-p-b-e-l-l hyphen Clay, C-l-a-y.
24                Q.      Thank you.     And what is your relationship
25       with Mr. Claybrooks?



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1                 A.      Personal friend.
2                 Q.      Okay.    So how long have you known
3        Mr. Claybrooks?
4                 A.      A little bit over eight years.
5                 Q.      And during the course of your
6        relationship with Mr. Claybrooks, can you describe
7        that relationship and what kind of person
8        Mr. Claybrooks is?
9                 A.      We dated for about two years.           We ended
10       on good terms and then we become -- we been friends
11       ever since.      I talk to him on a regular basis.            We
12       discuss -- he talks about his kids.             We talk about --
13       we ride motorcycles together.           Pretty much we just
14       have a friendly relationship.
15                Q.      Great.    And what kind of person would you
16       say Mr. Claybrooks is.         We realize that you understand
17       that he takes care of his children, but anything else
18       you know about Mr. Claybrooks?
19                A.      He -- he fun-loving.        Everybody like to
20       be around him.      He not a problem person.          Probably a
21       little more, I would say he -- he -- because he does
22       have a criminal history, of course, he knows that he
23       has to protect himself.
24                        So we all (inaudible) to, of course,
25       (inaudible) wake up the next day, but at the same



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1        time, you know, he's never been a problem.               He always
2        joke and kid, be around everybody, so (inaudible).
3                 Q.      And Mr. Claybrooks is from the Nashville,
4        Tennessee, area, ma'am?
5                 A.      Yes.
6                 Q.      Okay.    And in addition to that, when you
7        were around Mr. Claybrooks, he had to have the
8        opportunity to attend court; is that correct?
9                 A.      Yes, sir.
10                Q.      Okay.    So that means, in your mind, does
11       he demonstrate that he will return to court as
12       requested or ordered by a court?
13                A.      He always go to court.
14                Q.      He doesn't miss court?
15                A.      No, sir.
16                Q.      He doesn't avoid court?
17                A.      No, sir.
18                Q.      Also, are you aware that Mr. Claybrooks
19       is on disability?
20                A.      I am.
21                Q.      And could you describe your basis of
22       knowledge as to why Mr. Claybrooks is on disability?
23                A.      He had a motorcycle accident a couple
24       years back.      I'm a nurse, so we often talk about, you
25       know, his -- his surgical needs or pain needs or stuff



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1        like that, so.
2                 Q.      And what kind of pain would you consider
3        Mr. Claybrooks to be in?
4                 A.      Quite severe pain.
5                 Q.      Caused by?
6                 A.      He has metal screws and bolts in his back
7        and hips.
8                 Q.      And how does that affect him, if you
9        know?
10                A.      It's gonna -- he's always gonna always
11       have chronic pain.        It's going to be difficult for him
12       to be incarcerated to the point where he can't see a
13       physician or to be able to maintain the pain control.
14                        MR. PULLEY:     Thank you.      Nothing further,
15       Your Honor.
16                        THE COURT:     All right.      Mr. Suedekum?
17                        MR. SUEDEKUM:      Your Honor, I don't have
18       any questions for this witness.
19                        THE COURT:     All right.      Thank you.     Watch
20       your step there.
21                         *****WITNESS EXCUSED*****
22                        MR. PULLEY:     Thank you, Your Honor.
23       Reoneshee Welch, please.
24
25



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1                                 REONESHEE WELCH
2        called as a witness, after having been first duly
3        sworn, testified as follows:
4                               DIRECT EXAMINATION
5        BY MR. PULLEY:
6                 Q.      Good afternoon, Ms. Welch.
7                 A.      Good afternoon.
8                 Q.      Would you state and spell your name for
9        the record, please.
10                A.      Reoneshee Welch, R-e-o-n-e-s-h-e-e Welch,
11       W-e-l-c-h.
12                Q.      And what is your relationship to
13       Mr. Claybrooks?
14                A.      His girlfriend.
15                Q.      And how long have you been in that
16       position?
17                A.      Six and a half years.
18                Q.      And could you describe to the Court what
19       type of person Mr. Claybrooks is?
20                A.      Mr. Claybrooks, he's a loving person,
21       he's one of those if you ain't got, he gonna help you
22       out (inaudible).
23                Q.      So let me just ask you what that really
24       means.    If someone asks him for something, he's more
25       than prepared to assist them in obtaining --



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1                 A.      Yes, sir.
2                 Q.      -- what they require?
3                 A.      Yes, sir.
4                 Q.      Okay.    And what else do you know about
5        Mr. Claybrooks?
6                 A.      He love his kids.        He take care of home.
7        And he love his family.
8                 Q.      Would you describe how in that -- do you
9        live with Mr. Claybrooks?
10                A.      Yes, we stay together.
11                Q.      Thank you.     So how would you describe
12       that he takes care of home, what does that mean?
13                A.      Whatever needs to be done at home,
14       cooking, cleaning, doing the yard.            He also helps me
15       with my kids too.
16                Q.      How many children do you have?
17                A.      Two.
18                Q.      And do they live in the residence with
19       you?
20                A.      Yes, sir.
21                        THE COURT:     I'm sorry, how many children?
22                        THE WITNESS:      Two.
23                        THE COURT:     Two.    Thank you.
24       BY MR. PULLEY:
25                Q.      And so he helps out your children and his



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1        children --
2                 A.      Yes, sir.
3                 Q.      -- correct?     All right.      And so his
4        financial situation, we've already -- he's on
5        disability, as you know; correct?
6                 A.      Yes, sir.
7                 Q.      And you understand why he's on
8        disability; correct?
9                 A.      Yes, sir.
10                Q.      How does whatever has caused him to be
11       awarded disability, how does that affect his
12       day-to-day life?
13                A.      He hurts, but he don't let it show.              If
14       he help to do something around the house, he will do
15       something around the house, regardless if he hurting
16       or not.
17                Q.      Say that -- say that last statement.
18                A.      I say he'll do stuff around the house
19       regardless if he hurting or not hurting.              He's very
20       determined.      If he start anything, he gonna finish it.
21                Q.      Thank you.     And relative to his financial
22       distributions, is there any other way that
23       Mr. Claybrooks makes money?
24                A.      Well, he helps at the -- we have a
25       motorcycle clubhouse, so he helps at the bar.                He



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1        helps out cleaning, doing everything at the bar.                So
2        the money that they stated, that the man stated, that
3        was actually the club money for him helping behind the
4        bar.
5                 Q.      So that's just another financial resource
6        that he participates in with the family; correct?
7                 A.      Yes.
8                 Q.      And, of course, you would miss his
9        financial resources if he were, in fact, detained;
10       correct?
11                A.      Yes, sir.
12                Q.      Now, you are aware of what Mr. Claybrooks
13       has been charged with; is that correct?
14                A.      Yes,from what the -- the guy said, yes.
15                Q.      What the -- this gentleman right here
16       announced to the Court?
17                A.      Yes, sir.
18                Q.      Does that change your opinion about
19       Mr. Claybrooks in any way?
20                A.      No, sir.
21                Q.      It doesn't change your opinion that you
22       would more than welcome him home; is that correct?
23                A.      Right.
24                Q.      And if the Court found fit to release
25       Mr. Claybrooks relative to some terms or conditions,



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1        would you be in place to assist Mr. Claybrooks in
2        complying with the Court's conditions?
3                 A.      Yes, sir.
4                         MR. PULLEY:     I have nothing further,
5        Your Honor.
6                         THE COURT:     All right.      Government?
7                                 CROSS-EXAMINATION
8        BY MR. SUEDEKUM:
9                 Q.      Good afternoon, Ms. Welch.
10                A.      Good afternoon.
11                Q.      I believe you said a moment ago that the
12       money that was found in the defendant's car, that you
13       thought that was from the bar where he worked?
14                A.      Yeah, it was from the bar he works.            I
15       also works at the bar -- I also work at the bar too.
16                Q.      How do you know that the envelope with
17       money that was found in his car is -- has to be the
18       money from that bar?
19                A.      Because I counted the money before he
20       left.
21                Q.      When would that have been?
22                A.      That morning.
23                Q.      On July 4?
24                A.      Yes, sir.
25                Q.      Okay.    So you counted the money before he



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1        left, but, again, how do you know the origin of where
2        that money came from?
3                 A.      Because I -- I was the one who took it
4        out of the bar.       And I gave it to him because I knew
5        he was going back to the residence where we have
6        clubhouse at.      So I gave it to him before he left.
7                 Q.      So you were aware of the $210 that he had
8        in the backpack?
9                 A.      Yes, I was.
10                Q.      Were you aware that he had a gun in the
11       backpack?
12                A.      Yes, I was.
13                Q.      Okay.    How do you know that?
14                A.      Because it's mine.
15                        THE COURT:     I'm sorry, say that again.
16                        THE WITNESS:      It's mine.
17                        THE COURT:     It's your gun?
18                        THE WITNESS:      Yes, sir.
19                        THE COURT:     Okay.
20       BY MR. SUEDEKUM:
21                Q.      And you're the one who brought the gun?
22                A.      I actually bought it from my cousin, yes.
23       Because I have a gun license and I also carry.
24                Q.      Okay.    What was of the name of your
25       cousin --



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1                 A.      Marco.
2                 Q.      -- who you purchased the gun from?
3                 A.      Marco Smith.
4                 Q.      And do you know that the defendant had
5        your gun on June 4?
6                 A.      I actually left it in the car because we
7        had rode together.
8                 Q.      When was that?
9                 A.      The night before.       The night before the
10       incident, I think, we had rode together because we was
11       at the bar together, cleaning up and everything.                And
12       I -- I had (inaudible) because my cousin (inaudible)
13       for safetywise.       He sold it to me for safetywise, as a
14       female, because I'm a female and there's so much going
15       on in Nashville.
16                Q.      So on June 3 you left the gun in the
17       defendant's car?
18                A.      Yeah, because we rode together.
19                Q.      So you gave it to him or you put it in
20       the car yourself?
21                A.      I was the one that left in the car.
22                Q.      Where did you leave it in the car?
23                A.      It was up under the seat, but I guess he
24       seen it up under the seat and he put it in his bag.
25                Q.      Are you also aware that the defendant had



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1        marijuana in the backpack?
2                 A.      No I was not.
3                 Q.      All right.     Were you aware that there was
4        marijuana found in the backpack?
5                 A.      No, I wasn't -- not aware of that until
6        you said something about it, when you did your
7        testimony.
8                 Q.      Okay.    So you weren't aware that the
9        defendant had marijuana in his possession until you --
10                A.      No.
11                Q.      -- appeared here today?
12                A.      When you said something, that's when I
13       found out about it.
14                        MR. SUEDEKUM:      Thank you.     No further
15       questions, Your Honor.
16                        THE COURT:     Anything else?
17                        MR. PULLEY:     Just one last witness,
18       Your Honor, with the Court's permission.
19                        THE COURT:     All right.      Watch your step
20       there.
21                         *****WITNESS EXCUSED*****
22                        MR. PULLEY:     If we could call Andra
23       Claybrooks, Your Honor.
24                        THE COURT:     All right.
25



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1                                ANDRA CLAYBROOKS
2        called as a witness, after having been first duly
3        sworn, testified as follows:
4                               DIRECT EXAMINATION
5        BY MR. PULLEY:
6                 Q.      Good afternoon, Ms. Claybrooks.
7                 A.      Good afternoon.
8                 Q.      Would you state and spell your name for
9        the record.
10                A.      Andra Claybrooks.       A-n-d-r-a
11       C-l-a-y-b-r-o-o-k-s.
12                Q.      What is your relationship to Tarius
13       Claybrooks?
14                A.      I'm his wife.
15                Q.      Excuse me?     Oh, I'm sorry.       And what is
16       the status of you-all's marriage at this point?
17                A.      We separated.      We're like coparenting,
18       best of friends.
19                Q.      Now, wait a minute, don't go too fast --
20                A.      I'm sorry.
21                Q.      -- because I'll get tripped up myself.
22       How long have you-all been separated?
23                A.      Maybe seven years (inaudible).
24                Q.      All right.     And during the course of your
25       marital relationship, can you describe Mr. Claybrooks



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1        to the Court?
2                 A.      A loving person, always been there for
3        his kids, support his kids.          Schoolwise, hugwise.
4        Like football games, he's always just been very
5        supportive, always there for his kids.
6                 Q.      And that means that he's been supportive.
7        Would you indicate that he's been supportive of you as
8        well?
9                 A.      Yes, he's been supportive of me as well.
10                Q.      Would that be emotional -- emotional
11       support?
12                A.      Yes, emotional support, yeah.
13                Q.      And would that also include financial
14       support?
15                A.      Yes.
16                Q.      Okay.    And so even though you-all are --
17       have been separated for a number of years, would you
18       indicate that Mr. Claybrooks is a great person?
19                A.      Yes.
20                Q.      Thank you.
21                A.      Very good person.
22                Q.      And so that means that you are aware of
23       Mr. Claybrooks's prior criminal history?
24                A.      Yes.
25                Q.      And does his prior criminal history in



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1        any way affect what you think about Mr. Claybrooks?
2                 A.      No.
3                 Q.      Okay.    Also, in addition to that, you are
4        aware he's on disability as well?
5                 A.      Yes, sir.
6                 Q.      So that means he has to share some of
7        that disability -- the disability proceeds with you?
8                 A.      Yes.
9                 Q.      Thank you.     Now, you don't work at the
10       club, do you, ma'am?
11                A.      No.
12                Q.      And when is the last time you've seen
13       Mr. Claybrooks prior to this incident?
14                A.      Maybe a couple of days before the
15       incident.     I see him on a regular basis because, like
16       I said, we have kids together (inaudible) his kids.
17                Q.      So you have -- you do see him on a
18       regular basis?
19                A.      Yes.
20                Q.      Thank you.     And you are aware of his --
21       the present -- the charges that are presently pending
22       against him?
23                A.      Yes, just from what the man said.
24                Q.      Okay.    And does that change your opinion
25       about Mr. Claybrooks?



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1                 A.      No.
2                 Q.      And, again, I've asked everyone this and
3        I'll ask you again.        If the Court determines that he
4        will not be retained and set some conditions based on
5        his release, would you be in a position to assist
6        Mr. Claybrooks in complying with the Court's
7        conditions?
8                 A.      Yes.
9                         MR. PULLEY:     I have nothing further,
10       Your Honor.
11                        THE COURT:     Government?
12                        MR. SUEDEKUM:      Your Honor, I don't have
13       any questions for Ms. Claybrooks.
14                        THE COURT:     All right.      Thank you, ma'am.
15       You can step down.        Watch your step there.
16                         *****WITNESS EXCUSED*****
17                        MR. PULLEY:     Might I have one moment,
18       Your Honor?
19                        THE COURT:     Certainly.
20                        (Pause in proceedings.)
21                        MR. PULLEY:     We have no further proof.
22                        THE COURT:     Government have anything else
23       you want to add in the way of proof?
24                        MR. SUEDEKUM:      No, nothing else in the
25       way of proof, Your Honor.



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1                     THE COURT:      All right.     I'll be glad to
2    hear argument of counsel, then.            I'll tell you what,
3    Mr. Pulley, because there's a presumption on it, it
4    kind of puts the burden on you, so I'll let you go
5    first to argue.
6                     MR. PULLEY:      Yes, sir, Your Honor.
7                     Your Honor, it's the defense's position
8    that Mr. Claybrooks should not be detained in this
9    regard.     Quite frankly, Your Honor, the State has the
10   burden of proof that there are no conditions that
11   would provide his return to court and there's no
12   combination of conditions.
13                    I don't think that the government through
14   their witness, Sergeant Winter, they did not prove
15   that Mr. Claybrooks was a danger to society.                Didn't
16   prove that at all in any of his remarks.               The most
17   that they proved from Sergeant Winter is that he was
18   not (inaudible).        That's, in fact, what they proved.
19                    They -- we, in fact, proved that he has a
20   physical condition that would impair his ability to
21   reside in jail.       Also, we are definitely of the
22   position that he has family ties, as evidenced by
23   everyone seated in this courtroom today.               His ties to
24   the community are extensive, long and great.
25                    While he does have prior criminal



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1    history, Your Honor, he served his time for that.                 And
2    he's made amends regarding that.            Further, what's
3    contained in the indictment, those are merely
4    allegations.      They have not been proven at all.
5                     We also understand that pursuant to the
6    Eighth Amendment that no excessive bail shall be
7    required.     Further, when the reviewing officer looks
8    at the position that we're in, one of the positions
9    that -- is it a violent or nonviolent in nature.                 The
10   traffic stop itself, Your Honor, was nonviolent.                 It
11   was not violent.
12                    Further, it did involve narcotics,
13   Your Honor, but basically four ounces.              That's not a
14   great deal of narcotics, Your Honor.             So at this point
15   you're not in a position where the State has
16   demonstrated that he's danger -- he poses a danger to
17   the community, given the drug trafficking.
18                    Further, the second consideration is the
19   weight of evidence against the person, the weight of
20   the evidence against Mr. Claybrooks.             Again, the four
21   ounces in and of itself, which is simply a nominal
22   amount, should come into play here.
23                    Further, the weight of the evidence has
24   somehow been compromised by the admission by Ms. Welch
25   that the weapon, of course, is hers.             And the Court



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1    can take judicial notice of a history and
2    characteristics of the defendant.
3                     Your Honor, in this position I believe
4    that it would be in the Court's best interest and
5    Mr. Claybrooks's best interest, given his physical
6    limitations, his financial responsibility that he
7    upholds with his family, to place him under house
8    arrest because the Court must look to the least
9    restrictive means to assure the defendant's return to
10   court.     GPS monitoring is also available.
11                    The Court would not have to -- the
12   government would not have to be in a position to
13   provide the financial wherewithal for Mr. Claybrooks
14   to wear a GPS monitor or some other appropriate device
15   that secures his location, his whereabouts and his
16   activities.
17                    Therefore, Your Honor, we consider that
18   he is completely eligible to be released with
19   conditions that satisfy and meet the terms which the
20   Court may find appropriate.           Thank you, Your Honor.
21                    THE COURT:      All right.     Government.
22                    MR. SUEDEKUM:      Yes, Your Honor, I'll
23   begin by once again noting this is a presumption case,
24   and I -- I think it's important to clarify most of the
25   witnesses that Mr. Pulley put on on behalf of



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1    Mr. Claybrooks talked about his ties to the community
2    and whether or not essentially he's a flight risk.
3                     The government's motion wasn't based on a
4    risk of flight.       Our concern is that Mr. Claybrooks
5    has a history of selling drugs and illegally
6    possessing firearms, and that's the exact offense that
7    brings him to court again here today.              And our concern
8    is that there is no combination of conditions that is
9    going to assure the safety of the community, given the
10   behavior that he appears to have continually and
11   traditionally engaged in over the course of going on
12   20 years now, Your Honor.
13                    And I -- I didn't have questions for a
14   couple of witnesses because I understand that they are
15   family or close friends of Mr. Claybrooks, but those
16   community ties, those family ties don't appear to be
17   enough to stop Mr. Claybrooks from engaging in
18   whatever type of behavior it is he sees fit to have
19   engaged in.
20                    He's not allowed to have a firearm, but
21   he was in possession of a firearm here.              And I don't
22   agree at all with Mr. Pulley's statement that the
23   firearm charge is somehow been mitigated because it
24   may have been bought by his girlfriend.              He's not
25   charged with buying a firearm.            He's charged with



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1    being in possession of a firearm when he's simply not
2    allowed to have it.
3                     As a person in his position, carrying
4    around a quantity of drugs on this occasion, it was
5    165 grams in the backpack and five more in his pocket,
6    carrying around over $200 in cash, it makes sense why
7    he might be carrying around a firearm, and whether it
8    was for offensive purposes or simply for defensive
9    purposes, our concern is that he's not supposed to
10   have a firearm.       He's not supposed to be engaging in
11   this behavior, but there's a pattern of seeing it over
12   and over again.
13                    Your Honor, I think you heard the
14   evidence from Sergeant Winter.            The fact that he was
15   not present at the scene certainly doesn't take away
16   from his ability to read and understand the incident
17   reports of what happened at the scene that day.                 It
18   includes admissions by the defendant himself about
19   being in possession of the marijuana.
20                    And I would, in closing, note,
21   Your Honor, that probation has agreed with the
22   position of the United States, that there are no
23   conditions that will reasonably assure his -- safety
24   of the community, and they recommend, as the
25   United States does, that he be detained pending trial.



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1    Thank you, Your Honor.
2                     THE COURT:      Anything else, Mr. Pulley?
3                     MR. PULLEY:      No, sir.     Thank you,
4    Your Honor.
5                     THE COURT:      These cases are always a bit
6    difficult.      Certainly Mr. Claybrooks has got family
7    and his wife, although separated, and his girlfriend
8    that speak highly of him and apparently he has had
9    good relations with them and with the children.                 And
10   all of that is in his favor.
11                    The problem I have and why I am going to
12   order detention is that this is a presumption case.
13   If it was not a presumption case, I think I would have
14   a different result.        And I think Mr. Claybrooks has
15   rebutted the presumption that he's likely to flee.
16                    Given his disability and given his long
17   ties with the community and friends, I don't think
18   he's a flight risk.        The problem, though, I've got is
19   on the weapon and the drugs.           He's got three prior
20   drug convictions.        He's got three prior firearms
21   convictions.
22                    Even though I have considered the fact
23   that the last firearm conviction was six years ago and
24   since that last time and where it was treated with a
25   fairly light sentence, he's not had anything other



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1    than looks like some, I think, traffic violations,
2    which -- but the problem is in this case he's got a
3    quantity of drugs with bags and scales.
4                     You don't have bags and scales if you're
5    buying.     You have bags and scales if you're selling.
6    Doesn't appear he's a major dealer.             But he's, again,
7    got a firearm in the matter with an extra magazine.
8                     And apparently, if the evidence is
9    correct, that the weapon was hers and under the seat,
10   nevertheless he put it in the backpack with his --
11   with the drugs.       And that -- that just leaves me in a
12   position where I don't feel that -- that it doesn't
13   constitute a threat to the community.              Even with GPS
14   that only tells me where he is, not what he's doing.
15                    So under the circumstances I'm going to
16   order detention in the matter.            And obviously,
17   Mr. Pulley, you have a right to appeal my decision to
18   the district judge.        We'll be in recess.
19                    MR. PULLEY:      Thank you, Your Honor.
20                 ***END OF ELECTRONIC RECORDING***
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1                         REPORTER'S CERTIFICATE
2
3                 I, Roxann Harkins, Official Court Reporter
4    for the United States District Court for the Middle
5    District of Tennessee, in Nashville, do hereby
6    certify:
7                     That I transcribed from electronic
8    recording the proceedings held on August 29, 2018, in
9    the matter of UNITED STATES OF AMERICA v. TARIUS
10   CLAYBROOKS, Case No. 3:18-cr-0199;
11               that said proceedings in connection with the
12   hearing were reduced to typewritten form by me; and
13   that the foregoing transcript is a true and accurate
14   transcript of said proceedings.
15
16               This is the 14th day of November, 2018.
17
18                            s/ Roxann Harkins____
                              ROXANN HARKINS, RPR, CRR
19                            Official Court Reporter
20
21
22
23
24
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